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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                                    JURY TRIAL DEMANDED

                         CASE NO. 13-CV-24216-LENARD/GOODMAN

 LEEANN HOLDERBAUM,

        Plaintiff,

 v.

 CARNIVAL CORPORATION,
 a Panama corporation d/b/a
 “CARNIVAL CRUISE LINES,”

       Defendant.
 ____________________________/

   PLAINTIFF’S MOTION TO DEEM HER EXPERT DISCLOSURE TO BE AMENDED;
  INCORPORATED MEMORANDUM OF LAW; AND LOCAL RULE 7.1 CERTIFICATE

        COMES NOW plaintiff, LEEANN HOLDERBAUM, by and through undersigned

 counsel, and respectfully moves the Court for an order deeming her expert disclosure to be

 amended as necessary to utilize the testimony of defendant’s engineer expert, BRYAN EMOND,

 P.E., USCG (ret.), as substantive evidence in plaintiff’s case-in-chief at trial.

        As grounds for this motion, plaintiff would respectfully show the following:

        1.      The parties timely disclosed their trial liability and medical experts.

        2.      On or about October 22, 2014, the defendant timely disclosed BRYAN EMOND,

  an engineer and retired Coast Guard officer, as a liability expert (along with a Rule 26 report,

  resume, case list, and billing schedule).

        3.      The defendant produced EMOND for deposition by plaintiff in two (2) sessions,

  occurring on November 7, 2014 and November 19, 2014.
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        4.      Mr. EMOND gave much testimony favorable to the plaintiff, including outright

  endorsements of several of plaintiff’s premises if not conclusions in this case, e.g., (1) that

  international safety requirements promulgated by the International Maritime Organization

  (IMO) under the Safety of Life at Sea (SOLAS) treaty (that require escape routes aboard vessels

  be kept free of obstructions) apply at all times rather than just during emergencies; (2) the

  stairway where the subject incident occurred is an escape route; (3) that a tripping hazard on a

  vessel stairway at any time is a SOLAS violation; (4) that the nosing lip on the subject stairway

  where plaintiff tripped and fell was capable of arresting her shoe and causing her fall; (5) that

  the lip in question is not an “open and obvious danger” (to unfamiliar passengers); (6) that a

  change in walkway elevation capable of snagging a shoe (i.e., a “lip”) is a “tripping hazard;”

  and (7) that the handrail the plaintiff was holding is too large and asymmetrical to grasp firmly.

        5.      The plaintiff now naturally wishes to be able to offer testimony by Mr. EMOND

  in her case-in-chief which should otherwise be allowable. See House v. Combined Ins, Co. of

  America, 168 F.R.D. 236 (N.D. Iowa 1996)(allowing party to use testimony of opponent’s

  expert as substantive evidence in case-in-chief at trial); and Crowe v. Nivison, 145 F.R.D. 657

  (D. Md. 1993)(same).

        6.      Here, there can be no possibility of surprise or unfair prejudice to the defendant,

  who hired Mr. EMOND in the first place; and who has had access to, and been in possession of,

  Mr. EMOND’s opinions and Rule 26 materials since before the relevant expert disclosure

  deadline.

        WHEREFORE, the plaintiff requests that the Court deem her expert disclosure to be

  amended to the extent necessary to call Mr. EMOND in her case-in-chief at trial (or to use his

  deposition in the event of his unavailability).
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                            LOCAL RULE 7.1.(a).(3) CERTIFICATE

        I HEREBY CERTIFY that I have conferred with defendant CARNIVAL’s counsel who

 cannot agree to the relief requested in this motion.

                                               ERIKSEN LAW FIRM
                                               /s/    Michael D. Eriksen
                                               MICHAEL D. ERIKSEN
                                               Florida Bar No.: 316016




                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 10th day of December, 2014, I electronically filed the

 foregoing document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

 document is being served this day on all counsel of record or pro se parties identified on the

 attached Service List in the manner specified, either via transmission of Notices of Electronic

 filing generated by CM/ECF or some other authorized manner for those counsel or parties who

 are not authorized to receive electronically Notices of Electronic Filing.



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                                        SERVICE LIST

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